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                                                                                          United States District Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                    July 29, 2016
                                                                                            David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
                                                   §
                                                   §
VS.                                                §     CRIMINAL ACTION NO. H-10-258-2
                                                   §
                                                   §
                                                   §
JAMES DAVID WRIGHT                                 §

                                               ORDER

        Mr. Wright’s unopposed motion to travel to Louisville, Kentucky on September 2, 2016,

returning to Houston, Texas by September 6, 2016, is granted. (Docket Entry No. 666). Mr. Wright

must provide the U.S. Attorney’s office and his probation officer a precise schedule for his trip,

including the airline or trains he will take, or the vehicle he will use, to make the trip there and back

and the names and addresses of the hotel, motel, or other places where he will be staying.

                SIGNED on July 29, 2016, at Houston, Texas.


                                                       ______________________________________
                                                                Lee H. Rosenthal
                                                          United States District Judge
